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                                                                                              Apr 30, 2019

                               UNITED STATES DISTRICT COURT                                   AN GELA E. NOBLE
                                                                                              CLERK U.S. DIST. CT.
                               SOUTHERN DISTRICT OF FLORIDA                                   S. D. OF FLA. - MIAMI


                             CASENO.       19-20248-CR-WILLIAMS/TORRES
                                         18 u.s.c. § 922(g)(l)
                                         18 u.s.c. § 924(d)(l)

 UNITED STATES OF AMERICA

 v.

 CHRISTOPHER JONATHAN FOWLER,

        Defendant.



                                            INDICTMENT

        The Grand Jury charges that:

        On or about January 17, 2019, in Miami-Dade County, in the Southern District of Florida,

 the defendant,

                             CHRISTOPHER JONATHAN FOWLER,

 having been previously convicted of a crime punishable by imprisomnent for a term exceeding

 one year, did knowingly possess a firearm and ammunition in and affecting interstate and foreign

 commerce, in violation of Title 18, United States Code, Section 922(g)(l ).

                                  FORFEITURE ALLEGATIONS

        1.        The allegations of this Indictment are re-alleged and by this reference ful ly

 incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

 property in which the defendant, CHRISTOPHER JONATHAN FOWLER, has an interest.

        2.        Upon conviction of the violation of Titl e 18, United States Code, Section 922(g)( I)

 alleged in this Indictment, the defendant, CHRISTOPHER JONATHAN FOWLER, shall
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     forfeit to the United States any firearm and ammunition involved in or used in the commission of

     such violation, pursuant to Title 18, United States Code, Section 924(d)( l ).

            All pursuant to Title 18, United States Code, Section 924(d)(l), and the procedures set

     forth at Title 21, Unjted States Code, Section 853, as made applicable by Title 28, United States

     Code, Section 246l(c).



                                                               A TRUE BILL


                                                               FOREPERSON




                        0-0RSHAN
                       SATTORNEY




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                                                    UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                          CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  v.
                                                                  CERTIFICATE OF TRIAL ATTORNEY*
Christopher Jonathan Fowler,
                                                                  Superseding Case Information:
                                     Defendant.

Court Division:   (Select One)                                    New defendant(s)             Yes        No
 ./    Miami                     Key West                         Number of new defendants
       FTL                       WPB              FTP             Total number of counts

        I.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
        3.        Interpreter:    (Yes or No)                No
                  List language and/or dialect
        4.        This case will take _2_ days for the parties to try.
        5.        Please check appropriate category and type of offense listed below:

                  (Check only one)                                       (Check only one)


       I          0 to 5 days                           ./               Petty
       II         6 to 10 days                                           Minor
       III        11 to 20 days                                          Misdem.
       IV         21to60 days                                            Felony
        v         61 days and over
       6.       Has this case previously been filed in this District Court?                 (Yes or No)   No
        If yes: Judge                                     Case No.         ~~~~~~~~~~~~~~




        (Attach copy of dispositive order)
        Has a complaint been filed in this matter?         (Yes or No)      No
        If yes: Magistrate Case No.
        Related miscellaneous numbers:
        Defendant(s) in federal custody as of
        Defendant(s) in state custody as of
        Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)

        7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                   prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?            Yes             No_./_

        8.         Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                   prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No _ . f_




 *Penalty Sheet(s) attached                                                                                    REV 8/13/2018
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I                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

      Defendant's Name: CHRISTOPHER JONATHAN FOWLER

      Case No:

      Count#: 1

      Possession of a Firearm and Ammunition by a Convicted Felon

      Title 18, United States Code, Section 922(g)(l)

      *Max. Penalty:        10 Years' Imprisonment




      *Refers only to possible term of incarceration, does not include possible fines, restitution,
               special assessments, parole terms, or forfeitures that may be applicable.
